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                                                                                 US DISTRICT COURT E.D.N.Y.

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                                         United States District Court            BROOKLYN OFFICE
                                                   for the
                                         Eastern District of New York
     CIT BANK, N.A. FORMERLY KNOWN
     AS ONEWEST BANK, N.A.
                                                         Civil Action No. 14-cv-7470
                       Plaintiff



                                                         JUDGMENT OF FORECLOSURE
                                                         AND SALE



     JANET HOWARD, PNC BANK,
     NATIONAL ASSOCIATION, NEW
     YORK CITY ENVIRONMENTAL
     CONTROL BOARD, COLLEEN
     MCFARLANE, EDGAR ORTEGA,
     NANCY ORTEGA, STACY DIXON,
     TAMISHA HARRIMAN, and WINSBERT
     REMY


                        Defendant(s)

          Before theCourt is a motion forsummaryjudgment against the Defendant, Janet Howard, pursuant

   to Federal Rule of Civil Procedure 56; default judgment against Defendants PNC Bank, National

   Association and New York City Environmental Control Board, pursuant to Federal Rule of Civil

   Procedure 55 and Local Rule 55, filed on December 28, 2016. This action was commenced by the filing

   of a summons and complaint on December 23, 2014, a copy of which was served on New York City

   Environmental Control Boardon December 31,2014; served on JohnDoe on January 3,2015; served on

   Janet Howard on a January 17,2015; andserved on PNC Bank, National Association onJanuary 21,2015.

   Defendants PNC Bank, National Association, New York City Environmental Control Board, and John

   Doe have never answered or otherwise responded to the complaint, and the time for them to do so has

   expired. Plaintiff requested a Certificate of Default on April 20, 2015, and such certificate was entered

   by the Clerk of the Court on April 20, 2015.
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